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                         UNITED STATES DISTRICT COURT

                          DISTRICT OF SOUTH DAKOTA

                                WESTERN DIVISION


 UNITED STATES OF AMERICA,                              5:22-CR-50073-JLV-01

                   Plaintiff,
                                                 ORDER REGARDING MOTION TO
       vs.                                       CHANGE ATTORNEY STATUS AND
                                                  ORDER REGARDING BRIEFING
 ANTHONY WARD,

                   Defendant.


      Defendant Anthony Ward by the through his attorney of record, CJA

panel attorney John Rusch, filed a motion which, in part, requests that the

court enter an order, “allowing [Mr. Ward] to proceed pro se in this matter with

standby counsel . . .” (Doc. 152). The court held a hearing on the motion on

November 2, 2023. At the beginning of the hearing, Mr. Ward clearly and

unequivocally expressed his desire to represent himself and waive his Sixth

Amendment Right to Counsel.

      The Sixth Amendment grants an accused both the right to counsel and

the alternative right to proceed pro se. Faretta v. California, 422 U.S. 806

(1975). To represent himself, an accused must Aknowingly and intelligently@

waive his constitutional right to counsel. Id. at 835. Because of Athe

enormous importance and role that an attorney plays at a criminal trial,@ the

Supreme Court has Aimposed the most rigorous restrictions on the information


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that must be conveyed to a defendant, and the procedures that must be

observed, before permitting him to waive his right to counsel at trial.@

Patterson v. Illinois, 487 U.S. 285, 298 (1988).

      In Faretta, the Court said that A[a]lthough a defendant need not himself

have the skill and experience of a lawyer in order competently and intelligently

to choose self-representation, he should be made aware of the dangers and

disadvantages of self-representation, so that the record will establish that >he

knows what he is doing and his choice is made with eyes open.= @ 422 U.S. at

835 (quoting Adams v. United States ex rel. McCann, 317 U.S. 269, 279

(1942)). The Court upheld a waiver in Faretta where the record showed that

the defendant was Aliterate, competent, and understanding,@ the trial judge had

warned the defendant that the judge thought it was a mistake not to accept the

assistance of counsel, and that the defendant would be required to follow all

the rules of trial procedure. 422 U.S. at 808 fn. 2-3, 835-36.

      If the defendant waives the right to counsel, the waiver must be

voluntary, intelligent, and knowing. This standard is met if the trial court

specifically informed the defendant of the dangers and disadvantages of

self-representation, or if the entire record evidences the defendant knew and

understood the disadvantages. An on-the-record colloquy exploring the

dangers of self-representation is recognized as the preferred method of

substantiating a waiver's validity. United States v. Keiser, 578 F.3d 897, 902

(8th Cir. 2009).


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      The court conducted a Faretta hearing on Mr. Ward’s motion and finds

that the waiver is knowingly and intelligently made. However, during the

course of the hearing, Mr. Ward clearly expressed the reason for wanting to

proceed pro se. Throughout the course of this case, Mr. Ward has filed

numerous pro se motions, which the court has denied on the grounds that all

substantive motions must be made through counsel. During the hearing, Mr.

Ward made clear that his decision to proceed pro se is based on his desire to

have his substantive pro se motions adjudicated so that he is able to appeal

those issues, in the event he is convicted at trial. Mr. Ward expressed his good

working relationship with CJA panel attorney John Rusch and desires to have

Mr. Rusch represent him at trial. Mr. Ward’s sole motivation in asking to

appear pro se is to be able to litigate the legal challenges he seeks to raise.

      A pro se defendant has no constitutional right to “hybrid representation”

by standby counsel where counsel would assist him with the technical aspects

of the case, however a court does have the discretion to allow standby counsel

to provide that “meaningful assistance” with the technical aspects of the case

during his or her standby representation. United States v. Einfeldt, 138 F.3d

373, 378 (8th Cir. 1998); See also United States v. Swinney et al., 970 F. 3d

494, 498 (8th Cir. 1992) and United States v. Bartunek, 2017 WL 195882 at

p.3, (Not Reported) Order of District Judge Robert Rossiter (District of Nebraska

17CR28, 2017).




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      When asked by the court if he still wished to waive his Sixth Amendment

right to counsel, despite the risk that the court may not allow him to proceed

with a hybrid type of representation, Mr. Ward requested additional time to

consider the matter. Therefore, the court denied the motion as moot and

invited Mr. Ward to file a new motion clarifying his position.

      This case has been pending since April of 2022. Mr. Ward has been

dissatisfied with his two previous attorneys and his current attorney’s

unwillingness to file Mr. Ward’s requested motions. In the interests of justice,

judicial economy, and in order to promote the timely resolution of any motions,

the court will exercise its discretion to accomplish the clearly stated desire of

Mr. Ward; to-wit: that he be allowed the opportunity to have the court address

his pro se motions while also being represented by legal counsel at trial.

      Mr. Ward has filed at Motion to Dismiss at Docket 153 and the

supporting affidavit at Dockets 154 and 155. The court will consider Docket

153 and other new substantive motions raised by Mr. Ward for a limited period

of time. Other than Docket 153 and an appeal to the Report and

Recommendation at Docket 151, the court will not consider the previously filed

motions. 1   NOW THEREFORE,




1 These include, but are not limited to, Dockets 27, 28, 29, 30, 31, 32, 52, 53,

56, 82, 83, 86, 88, 99, 104, and 106.

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      IT IS ORDERED that Mr. Ward shall file any additional substantive

motions along with the legal and factual basis in support thereof that he seeks

to raise and have adjudicated on or before Tuesday, November 7, 2023;

      IT IS FURTHER ORDERED that the United States shall file its response

to the Motion to Dismiss filed by Mr. Ward at Docket 153, and any additional

motions filed by Mr. Ward on or before November 13, 2023.

      If Mr. Ward believes the court has construed his request in error or he

objects to proceeding in this fashion, he is to immediately inform the court in

writing.

      DATED this 2nd day of November, 2023.


                                     BY THE COURT:



                                     DANETA WOLLMANN
                                     United States Magistrate Judge




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